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                      UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF PENNSYLVANIA
Christina Swartz,                                 Civil Action No. _________________
                    Plaintiff,                    Removal from
                                                  Court of Common Pleas of
      vs.                                         Lackawanna County, Pennsylvania
Citizens Bank, National Association,              NOTICE OF REMOVAL
                    Defendant.



      PLEASE TAKE NOTICE that Defendant Citizens Bank, N.A. (“Citizens

Bank”), hereby removes this action from the Court of Common Pleas of

Lackawanna County, Pennsylvania, to the United States District Court for the

Middle District of Pennsylvania, pursuant to 28 United States Code sections 1331

(Federal Question) and 1441. The removal of this action is based on the following:

                        PROCEDURAL BACKGROUND

      1.      On February 5, 2020, Plaintiff Christina Swartz (“Plaintiff”) filed a

complaint (“Complaint”) against Citizens Bank in the Court of Common Pleas of

Lackawanna County, Pennsylvania, entitled Christina Swartz v. Citizens Bank,

National Association, Case No. 2020-00840.           A true and correct copy of the

Complaint is attached hereto as Exhibit 1.

      2.      The Complaint was served on February 8, 2020. Citizens Bank has

not filed a responsive pleading in state court.



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      3.      There have been no further pleadings in the State Court Action.

                          SUMMARY OF COMPLAINT

      4.      Plaintiff alleges that Citizens Bank violated the Telephone Consumer

Protection Act, 47 U.S.C. § 227 (“TCPA”), by making an “unknown number” of

calls to Plaintiff’s cell phone using an automatic telephone dialing system.

                    FEDERAL QUESTION JURISDICTION

      5.      This action is a civil action over which this Court has subject matter

jurisdiction under 28 United States Code sections 1331 and 1441 because the

Complaint contains claims (specifically the TCPA) arising under the Constitution,

laws, or treatises of the United States.

       THE PROCEDURAL REQUIREMENTS FOR REMOVAL ARE
                        SATISFIED

      6.      Timely Removal.      The Summons and Complaint were served on

February 8, 2020. This Notice of Removal is timely in that it is filed within thirty

(30) days upon Defendant’s receipt of the Complaint. 28 U.S.C. § 1446(b).

      7.      Removal to Proper Court. The case was filed in Lackawanna County,

Pennsylvania, which is within this Court’s “district and division” pursuant to 28

U.S.C. § 1446(a).

      8.      Consent of all Defendants.         Citizens Bank is the only named

defendant in this action. Accordingly, all properly joined and served defendants

have consented to this removal. 28 U.S.C. § 1446(b).



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      9.      Pleadings and Process. Pursuant to 28 U.S.C. § 1446(a), copies of all

pleadings and process served on Citizens Bank are attached hereto as Exhibit 1.

      10.     Notice. Citizens Bank is serving Plaintiff with written notice of the

removal of this action and all supporting papers. 28 U.S.C. § 1446(d).

      11.     Signature. The Notice of Removal is signed pursuant to Fed. R. Civ.

P. 11. 28 U.S.C. § 1446(a).

      12.     Accordingly, this action is removable to the United States District

Court for the Middle District of Pennsylvania.

      WHEREFORE, Citizens Bank respectfully removes this action from the

Court of Common Pleas of Lackawanna County to this Court pursuant to 28

United States Code sections 1331 and 1441.

                                       Respectfully Submitted,


                                       By      /s/ Mark W. Fidanza
                                            Mark W. Fidanza
                                            (Pa. ID 320930)
                                            REED SMITH LLP
                                            Three Logan Square
                                            1717 Arch Street, Suite 3100
                                            Philadelphia, PA 19103
                                            215-851-8100
                                            Attorneys for Defendant
                                            Citizens Bank, N.A.
      DATED: March 6, 2020




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                              CERTIFICATE OF SERVICE


       I, Mark W. Fidanza, certify that a true and correct copy of the foregoing Notice of

Removal and all accompanying papers was is being served today upon the following counsel by

email and U.S. Mail:


                           Brett M. Freeman
                           Sabatini Freeman, LLC
                           216 N. Blakely St.
                           Dunmore, PA 18512
                           Attorneys for Plaintiff




Dated: March 6, 2020


                                                     Mark W. Fidanza




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